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AO 245B (Rev. 03/18) Judgment in a Criminal Case
                     Sheet 1


                                         UNITED STATES DISTRICT COURT
                                                             District of Idaho
               UNITED STATES OF AMERICA                                   )        JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                    v.                                    )
                   ABEL ARTURO NEGRETE                                    )        Case Number:           0976 1:17CR00269-001
                                                                          )
                                                                          )        USM Number:            19225-023
                                                                          )
                                                                          )        Mark Ackley
                                                                          )        Defendant’s Attorney
THE DEFENDANT:

☒       pleaded guilty to count(s) Two of the Indictment

☐       pleaded nolo contendere to count(s)
        which was accepted by the court.

☐       was found guilty on count(s)
        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                    Nature of Offense                                       Offense Ended           Count

 18§922(g)(1)                                      Unlawful Possession of a Firearm                         08/07/2017               2


         The defendant is sentenced as provided in pages 2 through             7       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s) One of the Indictment                         ☒ is     ☐ are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        August 14, 2018
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge

                                                                        Edward J. Lodge, Senior United States District Judge
                                                                        Name and Title of Judge
                                                                               August 15, 2018
                                                                        Date
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 2-Imprisonment
                                                                                                         Judgment—Page       Page 2 of 7
 DEFENDANT:                    Abel Arturo Negrete
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                                                       IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 63 months

The term of imprisonment imposed by this judgment shall run concurrently with the defendant’s term of imprisonment pursuant to the
judgment in Case Number, CR-2015-840*C, in District Court, Canyon County, Idaho.




      ☒ The court makes the following recommendations to the Bureau of Prisons:


           It is recommended that the defendant participate in the RDAP program while incarcerated.




      ☒ The defendant is remanded to the custody of the United States Marshal.

      ☐ The defendant shall surrender to the United States Marshal for this district:
           ☐ at                                    ☐ a.m.      ☐ p.m.       on                                           .
           ☐ as notified by the United States Marshal.

      ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☐ before 2 p.m. on                                                                                                         .
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.
                                                              RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                        to
at                                                  , with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                     By:            DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3-Supervised Release

                                                                                                               Judgment—Page     Page 3 of 7
 DEFENDANT:                   Abel Arturo Negrete
 CASE NUMBER:                 0976 1:17CR00269-001
                                                    SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :        3 years




                                                   MANDATORY CONDITIONS
 1.     You must not commit another federal, state or local crime.
 2.     You must not unlawfully possess a controlled substance.
 3.     You shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
        of release on supervision and to a maximum of 5 periodic drug tests a month thereafter for the term of supervision as directed
        by the probation officer. The cost to be paid by both the defendant and the government based upon the defendant's ability to
        pay.
                ☐ The above drug testing condition is suspended, based on the courts determination that the defendant poses a low
                      risk of future substance abuse. (Check, if applicable.)
 4.     ☒       The  defendant   shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 5.     ☐       The  defendant   shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
                16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
                in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 6.     ☐       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

 7.     ☐        You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (Check,
                 if applicable.)
 8.     ☒        You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.     ☐        If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10.    ☒        You must notify the court of any material change in your economic circumstances that might affect your ability to pay
                 restitution, fines, or special assessments.

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3A-Supervised Release

                                                                                                               Judgment—Page     Page 4 of 7
 DEFENDANT:                   Abel Arturo Negrete
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                                      STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
 imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
 by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
 1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the
         time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
 2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
 4.      You must answer truthfully the questions asked by your probation officer.
 5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
 6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
 8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
 9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
 11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
 12.     If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
 13.     You must follow the instructions of the probation officer related to the conditions of supervision.

 U.S. Probation Office Use Only
 Upon a finding of a violation of supervision or supervised release, I understand that the court may (1) revoke supervision, (2) extend
 the term of supervision, and/or (3) modify the conditions of supervision.

 A U.S. probation officer has instructed me on the conditions specified by the Court. I fully understand the conditions and have been
 provided with a written copy of this judgment containing these conditions.


 Defendant’s Signature                                                                  Date

 U.S. Probation Officer/Witness                                                         Date
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3B-Supervised Release

                                                                                                           Judgment—Page      Page 5 of 7
 DEFENDANT:                   Abel Arturo Negrete
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
The defendant shall pay any special assessment or other financial obligation that is imposed by this judgment in accordance with the
Schedule of Payments as ordered by the Court.

The defendant shall submit his or her person, property, house, residence, vehicle, papers, or office, to a search conducted by a United
States probation officer. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
condition.

The defendant shall participate in a program of testing and treatment for drug and alcohol abuse, as directed by the probation officer.
The cost to be paid by both the defendant and the government based upon the defendant's ability to pay.

The defendant shall abstain from the use of alcohol and shall not be present in any location where alcohol is the primary item of sale.

The defendant shall participate in a program of mental health treatment, as directed by the probation officer. The cost to be paid by both
the defendant and the government based upon the defendant's ability to pay.

As directed by a mental health professional, the defendant shall take all medications as prescribed. The cost of medication to be paid
by both the government and the defendant based upon the defendant’s ability to pay.

The defendant shall use only one pharmacy for obtaining prescription medication, report that pharmacy to the probation officer and
notify the probation officer of any changes.

The defendant shall use only one doctor, physician’s assistant or nurse practitioner as a primary care physician. The defendant shall
report the chosen medical provider to the probation officer and notify the probation officer of any changes.

The defendant shall advise any treating medical practitioner of their personal history of prescription medication use and abuse.

If determined by the results of the Test of Adult Basic Education (TABE) that the defendant has the cognitive ability to do so, the
defendant shall obtain their General Education Development (GED) degree or High School Equivalency (HSE) during the term of
supervised release. The costs of education and testing shall be paid by the defendant.

The defendant is prohibited from having contact with any members of the Barrio San Fernando. The defendant is further prohibited
from possessing any items representing or showing affiliation with gangs and shall submit to the seizure of any such contraband.

The defendant is prohibited from having contact with individuals known to him to be gang members. The defendant is further prohibited
from possessing any items representing or showing affiliation with gangs and shall submit to the seizure of any such contraband.

Participate in a program aimed at addressing specific interpersonal or social areas for example, domestic violence, anger management,
marital counseling, financial counseling, cognitive skills, and/or parenting.

Special Conditions of supervised release shall supersede any standard condition that is inconsistent with the special conditions.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 5- Criminal Monetary Penalties

                                                                                                                 Judgment—Page    Page 6 of 7
 DEFENDANT:                     Abel Arturo Negrete
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                                                  CRIMINAL MONETARY PENALTIES

                 The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment           Fine                               Restitution                      JVTA Assessment*
 TOTALS                   $100                 Waived                             Not applicable                   Not applicable


 ☐ The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

 ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.

                  Name of Payee                             Total Loss**                 Restitution Ordered          Priority or Percentage




                    TOTALS                        $                                      $
 ☐       Restitution amount ordered pursuant to plea agreement                $

 ☐       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ☐       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        ☐ the interest requirement is waived for the                 ☐ fine        ☐    restitution.

        ☐ the interest requirement for the            ☐       fine    ☐ restitution is modified as follows:
 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 6- Schedule of Payments

                                                                                                            Judgment—Page        Page 7 of 7
 DEFENDANT:                    Abel Arturo Negrete
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                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payment of $                                 due immediately, balance due

              ☐ not later than                                    , or
              ☐ in accordance              ☐ C,      ☐ D,       ☐ E, or         ☐ F below; or
 B      ☒ Payment to begin immediately (may be combined with                ☐ C,        ☐ D,        ☒ F below); or
 C      ☐ Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period
                              (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
 D      ☐ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
              term of supervision; or
 E      ☐ Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release
              imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              While in custody, the defendant shall submit nominal payments of not less than $25 per quarter pursuant to the Bureau of
              Prisons' Inmate Financial Responsibility Program.

              During the term of supervised release, the defendant shall submit nominal monthly payments of 10% of gross income, but
              not less than $25 per month, unless further modified by the Court. The defendant shall pay any special assessment or
              financial obligation owing to the Clerk of the Court, 550 W Fort Street, Boise, ID 83724.
 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
 Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐      Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
        Amount,
        and corresponding payee, if appropriate.


 ☐      The defendant shall pay the cost of prosecution.

 ☐      The defendant shall pay the following court cost(s):

 ☐      The defendant shall forfeit the defendant’s interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) JVTA Assessment (8) penalties, and (9) costs, including cost of prosecution and court
 costs.
